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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-13-515
                                                  §
                                                  §
                                                  §
JAMMIE T. MARTIN, et al.                          §

                                                ORDER

       Defendant Michelle Davis filed a motion for continuance, (Docket Entry No. 50). The

government and the codefendants are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The docket control

order is amended as follows:

       Motions are to be filed by:                     January 27, 2014
       Responses are to be filed by:                   February 10, 2014
       Pretrial conference is reset to:                February 18, 2014 at 8:45 a.m.
       Jury trial and selection are reset to:          February 24, 2014 at 9:00 a.m.


               SIGNED on November 25, 2013, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
